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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                             GREENVILLE DIVISION

UNITED STATES OF AMERICA,

VS.                                                   CRIMINAL ACTION NO. 4:08CR076-P-D

JOHNNIE MAE HOLTON and
VATESTA JOHNSON WASHINGTON,                                                   DEFENDANTS.

                                ORDER CONTINUING TRIAL

       This matter comes before the court upon Defendant Vatesta Johnson Washington’s motion

to continue trial [31]. After due consideration of the motion, the court finds as follows, to-wit:

       Trial is currently set for November 3, 2008. Defense counsel requests a continuance to afford

more time to resolve a possible conflict of interest arising from his representation of Defendant

Washington and another person who is involved in the activities alleged in the Indictment, but who

is not a named defendant in this particular action.

       The Government has no objection to the continuance.

       The above circumstances enable the Court to exclude, pursuant to 18 U.S.C. section

3161(h)(8)(A), the period of delay from November 3, 2008 until the new trial date to be set in this

matter. The time is excludable under subsection (h)(8)(A) because, given the circumstances

described above, a continuance is necessary to afford the defendant’s counsel more time to properly

prepare for his client’s defense. As such, the ends of justice served by the granting of this

continuance outweigh the best interests of the public and the defendant in a speedy trial. The time

is also excludable as to Defendant Washington’s co-defendant, Johnnie Mae Holton, pursuant to 18

U.S.C. section 3161(h)(7) because the period of delay is reasonable and no motion for severance has

been granted.

       IT IS THEREFORE ORDERED AND ADJUDGED that:
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       (1) Defendant Vatesta Johnson Washington’s motion to continue trial [31] is GRANTED;

       (2) Trial of this matter is continued as to both defendants until Monday, January 26, 2009

at 9:00 a.m. in the United States Courthouse in Greenville, Mississippi;

       (3) The delay from November 3, 2008 to January 26, 2009 is excluded from Speedy Trial

Act considerations as set out above;

       (4) The deadline for filing pretrial motions is January 5, 2009; and

       (5) The deadline for submitting a plea agreement is January 12, 2009.

       SO ORDERED this the 28th day of October, A.D., 2008.



                                                     /s/ W. Allen Pepper, Jr.
                                                     W. ALLEN PEPPER, JR.
                                                     UNITED STATES DISTRICT JUDGE
